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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF CALIFORNIA

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In re: Case No. O4-28375-D-13L
Docket Control No. FWP-l

KEVIN HEALY ,

Debtor.

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MEMORANDUM DECI S ION

This memorandum decision is not approved for publication and may

not be cited except when relevant under the doctrine of law of

the case or the rules of claim preclusion or issue preclusion.

On April 28, 2005, the chapter 13 trustee in this case,

Lawrence J. Loheit (“the Trustee”) filed his Final Report and
Account (“the Report”). On May 31, 2005, the debtor, Kevin M.
Healy (“Healy”), filed his Notice of Objection to Disbursement of
Attorneys Fees; Request for Hearing (the “Objection”), in which
he objected to the Report “to the extent that it allows any fees
to attorney Peter G. Macaluso, Esq.” Following briefing and oral
argument, the court approved the Report, and Healy appealed. On
August 22, 2006, the Ninth Circuit Bankruptcy Appellate Panel
vacated the order approving the Report and remanded the matter
for further findings consistent with its decision. The parties
have now further briefed and argued the issues, and the court has

conducted an evidentiary hearing at which Healy and Peter G.

Macaluso (“Macaluso”) testified.

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For the reasons set forth below, the court will sustain the
Objection, and order that Macaluso return to Healy the full
amount of attorney's fees he received for his services in this
Case, $1,210. Healy's specific challenge to the Report was to
the payment by the Trustee to Macaluso of $710 as attorney's
fees. However, prior to the commencement of the case, Healy had
paid Macaluso SSOO as a retainer. Based on the comments of the
Bankruptcy Appellate Panel in its decision remanding the matter
(§ee page 6 below), the court concludes that the $500 payment
should stand or fall with the Trustee's $710 payment.l

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Healy is an attorney at law, so licensed in California and
Washington, practicing in the areas of military law, aviation
matters, “civil-law,” family law, and personal injury, according
to his website, www.healy-law.com.

On August 16, 2004, Healy, then represented by Macaluso,
filed a voluntary petition for relief under chapter 13 of the
Bankruptcy Code, thereby commencing this case,2 On January 5,
2005, the court granted the Trustee's motion to dismiss the case
on the ground that Healy's unsecured debt exceeded the limit for

éhapter 13 eligibility fixed by 11 U.s.c. § 1091@), $307,675.
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1. Macaluso acknowledged in his response filed May 4, 2007, at
1:20-21, that the amount at issue in this matter is $1,210.

2. Unless otherwise indicated, all Code, chapter, section and
Rule references are to the Bankruptcy Code, 11 U.S.C. §§ 101-1330,
and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9036, as
enacted and promulgated prior to the effective date (October 17,
2005) of the Bankruptcy Abuse Prevention and Consumer Protection Act
of 2005, Pub. L. 109-8, 119 Stat. 23 (2005).

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Healy then challenged the Trustee's Report, and in
particular, the Trustee's payment of $710 to Macaluso as
attorney's fees incurred in the case. The court approved the
Report over Healy's objection, but the order was vacated on
appeal.

Following remand, Macaluso filed a motion to set the matter
for further proceedings, pursuant to Local Bankruptcy Rule 8020-
l. The court took Macaluso’s motion as a motion for approval of
attorney's fees, as required by paragraph 3 of the court's
Guidelines for Payment of Attorneys’ Fees in Chapter 13 Cases
§Effective July 1, 2003). On February 9, 2007, the court issued
an order fixing deadlines for the filing of supplemental briefs
and evidence.

On February 20, 2007, Healy filed a motion to extend the
briefing schedule. The court granted Healy's motion, and on
February 27, issued an amended order, extending by six weeks each
the deadlines for Healy and Macaluso to file their briefs and
evidence.

Healy filed no further motion to extend the briefing
schedule or to modify the amended scheduling order.7 Then, on
April 23, 2007, the first business day after his deadline had
passed, Healy filed a “Preliminary Notice of Objections and
Further Evidence for Opposition to Attorney Fees on Issues on
Remand,” in which he complained that a lack of cooperation on the
part of Macaluso and his counsel, together with Healy's military
duties and family health issues, had prevented him from
conducting the discovery he needed. On May 5, 2007, after the
deadline for Macaluso to file his brief and evidence had passed,

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and the evidentiary record thus had closed, Healy served on
Macaluso a subpoena for his deposition and for the production of
documents.

Macaluso responded with a motion to quash the subpoena and
for an award of costs in the amount of $1,380, increased to
$2,640 by the time Macaluso’s reply was filed. Following
briefing and a hearing, the court quashed the subpoena and
continued the hearing as to Macaluso’s request for an award of
costs to August 23, 2007.3 The court continued the hearing on
the Objection to the same date and time. On August 22, the day
before the hearing, Healy submitted a request for a further
continuance, which the court granted, continuing both hearings to
September 26. On September 24, Healy filed a motion for another
continuance, which the court granted, continuing the hearings to
November 14.

On November 14, 2007, having determined that the
declarations of Macaluso and Healy thus far submitted were
factually at odds with one another, the court set an evidentiary
hearing for December 10, 2007, for the limited purpose of taking
testimony as to what advice Macaluso had given Healy before the
filing of the petition commencing this case, and in particular,
as to what Macaluso had told Healy about the requirements for
chapter 13 eligibility, the effect of the automatic stay on

pending state court proceedings, and the ability to have certain

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3. The court's findings and conclusions supporting the decision
to quash the subpoena were read into the record at a June 12, 2007
hearing,

 

 

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state court claims determined in adversary proceedings in the
bankruptcy court.

The court required Healy and Macaluso to file direct
testimony declarations and exhibits in accordance with Local
Bankruptcy Rule 9017-1. Both submitted declarations, Healy
submitted exhibits, and an evidentiary hearing was held on
becember 10, 2007, at which Healy and Macaluso testified and were
cross-examined. The court was not impressed with the candor or
credibility of either party. Macaluso had clear recall at times,
when it was self-serving, and at other times, his recall was
poor. However, as between the two, the court found Healy to be
the less credible and less forthcoming. In_particular, the court
found Healy to be very evasive, unresponsive, coy, and
contentious in his testimony.

Healy challenges the attorney's fees paid to Macaluso on
several grounds, among them that Macaluso had improperly
counseled Healy that he qualified for chapter 13 relief when he
did not.4 Macaluso responds that Healy may in fact have
qualified for chapter 13 relief. Macaluso also contends that
even if Healy did not qualify, the petition was filed on an
emergency basis, Healy understood the requirements for and
ramifications of a chapter 13 filing, and on that basis, made the
decision to proceed with the filing, the failure of the chapter
13 case was Healy's fault, and the work Macaluso performed in the

case was worth the amount of fees he received and then some.

 

4. Because the court's decision concerning Macaluso’s handling
of the eligibility issue is dispositive of the Objection, there is no
need to consider the other issues raised by Healy.

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II. ANALYSIS

A bankruptcy court awards attorney's fees for services
rendered in a bankruptcy case pursuant to § 330(a). The
allowance of fees and costs to a chapter 13 debtor’s attorney is
“based on a consideration of the benefit and necessity of such
services to the debtor and the other factors set forth in this
section.” § 330(a)(4)(B). The court must consider, among other
things, “whether the services were necessary to the
administration of, or beneficial at the time at which the service
was rendered toward the completion of, a case under this title

.” § 330(a)(3)(C)-

[S]ervices that are reasonably likely to provide an

identifiable, tangible and material benefit to the

debtor’s estate can be compensated, even if they do not

actually provide such a benefit (and as long as such

services meet the other requirements of section
330(a)).

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Smith v. Edwards & Hale §In re Smith), 317 F.3d 918, 926 (9th
Cir. 2002).

Macaluso has the burden`of proof as to his entitlement to
attorney's fees. Law Offices of David A. Boone v. Derham-Burk
§In re Eliapo), 298 B.R. 392, 402 (9th Cir. BAP 2003); Hale V.
United States Trustee §In re Basham§, 208 B.R. 926, 931-32 (9th
Cir. BAP l997).

On Healy's appeal in this matter, the Bankruptcy Appellate
Panel determined that “if it turns out that Macaluso negligently
counseled [Healy] to file a bankruptcy case for which he was
clearly ineligible, all of the fees incurred in connection with
the ill-advised chapter 13 case might be rendered unreasonable

under § 330(a).” Heal v. Macaluso In re Heal , BAP No. EC-OS-

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1396-SBMo, Memorandum filed August 22, 2006, at 13. The court
will therefore examine, first, whether Healy was ineligible for
chapter 13 relief when this case was commenced, and if so,
whether Macaluso improperly counseled him to file anyway, or
alternatively, failed to sufficiently inform Healy of the
eligibility issue. `

If these questions are answered in the affirmative, the
court may order the disgorgement of all fees received by Macaluso
in connection the case. § 329(b); Rule 2017(a) and (b).

A. Whether Healy qualified for chapter 13 relief

At the time Healy's petition was filed, only an individual
who owed noncontingent, liquidated, unsecured debts of less than
$307,675 and noncontingent, liquidated,'secured debts of less
than $922,975 was eligible for chapter 13 relief. § 109(e).5
Whether a debtor is eligible under these tests “should normally
be determined by the debtor’s originally filed schedules,
checking only to see if the schedules were made in good faith.”
Scovis v. Henrichsen §In re ScovisZ, 249 F.3d 975, 982 (9th Cir.
2001).

Thus, the court looks to Healy's originally filed schedules.

,Healy's F-schedule, filed with his petition on August 16, 2004,

showed $264,128.82 in noncontingent, liquidated, unsecured debts;
His D-schedule showed $271,721.67 in noncontingent, liquidated
secured debts, of which $72,683 was the total of the unsecured
portions of two debts owed to Healy's mother, Teryl Dayton Healy.

Thus, the original schedules showed a total of $336,811.82 in

 

5. Pursuant to § 104(b), these figures are adjusted every three
years.

 

 

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noncontingent, liquidated, unsecured debts,6 more than the
$307,675 limit under § 109(e). On their face, then, Healyis
originally filed schedules indicated Healy was not eligible for
chapter 13 relief.

Macaluso argues that he “[does] not believe that the debt
limits of section 109 were exceeded, as the potential debts to
the anti-SLAPP creditors were contingent and/or unliquidated, as
reflected in the amended schedules filed in this case.”
Alternate Direct Testimony of Peter G. Macaluso (“Macaluso ADT”),
1[ll.

The “anti-SLAPP creditors” to whom Macaluso refers are
Charles E. Bauer and Cynthia Rose. In separate Sacramento County
Superior Court actions, the court had granted Bauer’s and Rose's
special motions to strike Healy's complaints against them, under
California Code of Civil Procedure § 425.16, each as a
Astrategic lawsuit against public participation,” known as an
anti-SLAPP motion. Bauer and Rose then filed motions for awards
of attorney's fees and costs against Healy, Bauer in the amount
of $39,055 and Rose in the amount of $6,703.80.

On October 12, 2004, five days after the meeting of
creditors in the bankruptcy case, Healy filed an amended F-
schedule, in which he characterized the debt to Bauer as
unliquidated, whereas it had been listed as liquidated in the
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6. Undersecured portions of secured debts count as unsecured
for the § 109(e) eligibility test. Scovis, 249 F.3d at 983.

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original schedule.7 He also added a new creditor, Rose,8 out of
an “abundance of caution,” at $1.00, also unliquidated.9 By way
of the amended schedule, then, Healy attempted to take these
debts out of the calculation, thereby bringing his unsecured debt
total below the limit for eligibility purposes, $307,675.lo
Macaluso contends that this amendment rendered Healy
eligible for chapter 13. By contrast, under Scovis, absent a
challenge to a debtor’s good faith in filing the schedules, the
court should look to the originally filed schedules. Although
there were two objections to the confirmation of Healy's chapter
13 plan, one by the Trustee and one by Bauer, neither suggested
that the original schedules were not filed in good faith. Thus;
the court finds those schedules to be dispositive of the issue.
However, even if the amended schedules were to be
considered, the outcome would be the same, because the court
finds the Bauer and Rose debts to be liquidated and noncontingent
for purposes of the § 109(e) test. In the Ninth Circuit, “a debt

is liquidated for the purposes of calculating eligibility for

 

7. The debt was listed in the amended schedule as a debt to the
law firm of Murphy, Pearson, Bradley & Feeney, Bauer's attorneys.

8. The debt to Rose was listed as a debt to the Law Office of
Stephanie J. Finelli, Rose's attorney.

9. Healy also listed these debts, and a third, as disputed as
well as unliquidated. The characterization of the debts as disputed
does not help Healy, however, if the debts were liquidated and
noncontingent, See Slack v. Wilshire Ins. Co. (In re Slack), 187
F.3d 1070, 1073-75 (9th Cir. 1999); and see discussion below,

10. Healy also changed the characterization of a third debt, to
Thompson [Thomson] West Publishing, $10,341.70, to unliquidated. The
net effect of the amendment was to reduce to $286,470.12 the~total of
the noncontingent, liquidated, unsecured debts,

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relief under § 109(e) if the amount of the debt is readily
determinable.” Slack v. Wilshire Ins. Co. (In re Slack), 187
F.3d lO70, 1073 (9th Cir. 1999).

Whether a debt is readily determinable, in turn, depends on
“whether the amount is easily calculable or whether an extensive
hearing will be needed to determine the amount of the debt, or
the liability of the debtor.” ld. at 1074. “The definition of
‘ready determination' turns on the distinction between a simple
hearing to determine the amount of a certain debt, and an
extensive and contested evidentiary hearing in which substantial
evidence may be necessary to establish amounts or liability.” in
re Wenberg, 94 B.R. 631, 634 (9th Cir. BAP 1988).

“[T]he mere assertion by the debtor that he is not liable

for the claim will not render the debt unliquidated for the

_purposes of calculating eligibility under § 109(e).” Slack, 187

F.3d at 1074. In short, in the Ninth Circuit, “a debt is
liquidated if the amount is readily ascertainable,
notwithstanding the fact that the question of liability has not
been finally decided.” lbid.

The Bauer and Rose debts were on account of attorney's fees
and costs incurred by them in connection with their anti-SLAPP
motions. Attorney's fee claims are determined by both state
courts and bankruptcy courts on a regular basis. In the Wenberg
case, supra, the bankruptcy court, in a “not overly extensive”
hearing, was able to determine the amount of attorney's fees and
costs incurred in underlying litigation, and on that basis, the
Ninth Circuit Bankruptcy Appellate Panel affirmed the court's

conclusion that the claim for fees was “subject to ready

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determination.” 94 B.R. at 635. The Court of Appeals affirmed.
In re Wenberg, 902 F.2d 768 (9th Cir. 1990). Similarly, this

court concludes that determination of the amounts of the Bauer

and Rose debts would be relatively simple, and thus, that the

debts were readily ascertainable, and therefore liquidated.
The debts were also noncontingent. “[A] debt is

noncontingent if all events giving rise to liability occurred

prior to the filing of the bankruptcy petition.” Nicholes v.
Johnny Appleseed §In re Nicholes), 184 B.R. 82, 88 (9th Cir. BAP
1995). By contrast, “[a] contingent debt is ‘one which the

debtor will be called upon to pay only upon the occurrence or
happening of an extrinsic event which will trigger the liability
of the debtor to the alleged creditor.'” _ld¢ quoting lg_;§
Fostvedt, 823 F.2d 305, 306 (9th Cir. 1987). “[T]he fact that a
claim has not been reduced to judgment does not render it
contingent.” ;QL citing In re Dill, 30 B.R. 546, 549 (9th Cir.
BAP l983).

In this instance, the anti-SLAPP motions had been filed and
determined, and Bauer’s and Rose's attorney's fees and costs for
those motions had been incurred prior to the filing of Healy's
bankruptcy petition. There remained no other event necessary to
trigger liability on Healy's part. The fact that one or both fee
motions had not yet been ruled on by the state court is
irrelevant (Nicholes, 184 B.R. at 88), as is the fact that Healy

disputed the claims. “[E]ven a bona fide dispute over liability

for a claim does not make the debt contingent.” Id. at 89.
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The Bauer and Rose debts were therefore liquidated and
noncontingent, and were appropriately included in the § 109(e)
calculation, regardless of the fact that Healy disputed them,

Adding these two debts, $6,703.80 to Rose and $39,055 to

.Bauer, to the $286,470.12 remaining after the filing of the

amended F-schedule brings the total of Healy's noncontingent,
liquidated, unsecured debt to $332,228.92. Thus, Healy exceeded
the § 109(e) limit unless Healy's debts to his mother somehow
changed the equation.
v It appears Macaluso recognized the possibility that the
bifurcation of Healy's mother's claims might alter the outcome.
The correspondence between Healy and Macaluso after the
objections to confirmation had been filed suggests that Macaluso
at least attempted to obtain additional information from Healy
that might support the theory that the undersecured portions of
his mother's claims might actually be less than originally
scheduled. However, no further evidence to support this theory
was ever submitted, so the court is left with the conclusion that
the total of Healy's noncontingent, liquidated, unsecured debt in
fact rendered him ineligible for chapter 13 relief, whether one
considers only the original schedules or the amended F~schedule.11
B. Whether Macaluso properly advised Healy

Having rejected Macaluso’s argument that Healy was in fact

eligible to be a chapter 13 debtor, the court must consider

 

11. The court does not mean to suggest that an amendment to the
D- and F-schedules might have salvaged the case. As the court has
already concluded, under Scovis, as the original schedules were
apparently filed in good faith, they' were determinative of the
eligibility issue.

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whether Macaluso advised Healy in this regard. Macaluso’s
testimony is that he “does not recall that any issues arose or
what we discussed regarding the debt limits,” and that up until
the time of their in-person meeting the evening the petition was
filed, “no issues arose which gave a reason to discuss the debt
limits of chapter 13, and the debt limits were not specifically
discussed.” Macaluso ADT, jj 9, 50. There is no evidence that
the issue was discussed at all prior to the filing of the
petition.

Macaluso testified that several other issues were
extensively discussed, including the liquidation analysis,
feasibility, disposable income, preferences, insider
transactions, the automatic stay, and the possibility of
conversion, dismissal, and/or refiling. However, there is no
evidence that the § 109(e) debt limits were discussed, Thus,
Macaluso has not submitted evidence that his advice to Healy was
sufficient to reasonably apprise Healy that his case might face
dismissal because of the debt limits, so that Healy could make an
informed decision whether to proceed. Macaluso contends that
healy caused the petition to be filed “knowingly, voluntarily and
intelligently.” Regardless, debtor’s counsel has a duty to
assess eligibility before a chapter 13 is filed, and to advise
the client if there are eligibility issues. There is no evidence
that this was done.

The court recognizes that Healy gave Macaluso a relatively

short period of time in which to prepare for the bankruptcy
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filing, a period of between one and two weeks.12 The court
acknowledges Healy's apparent determination to use a bankruptcy
filing to avoid a state court filing deadline he perceived as
unfair and in violation of federal law, The court also
recognizes that, in pushing to file the bankruptcy petition
before that deadline, Healy may have pressured Macaluso to file
without the detailed financial information and documentation
Macaluso would have preferred to have.

Nevertheless, the debt limits are a fundamental test of a
debtor’s eligibility for chapter 13 relief, and therefore, should
be addressed prior to any chapter 13 filing. Macaluso should
have addressed the issue specifically with Healy, and should have
cautioned him that the case stood to be dismissed if Healy in
fact exceeded the debt limits, There is no evidence that
Macaluso took these steps.

Macaluso testified he believes Healy would have filed the
petition even if he had known he faced a challenge based on the
debt limits. Macaluso points to Healy's filing in one of the
state court actions of a Notice of Stay Due to Bankruptcy Filing
even before the bankruptcy petition was filed and before Macaluso
and Healy had their in-person meeting. Macaluso concludes that
Healy “had made the decision to file his bankruptcy prior to

meeting with [Macaluso] that day.” Macaluso ADT, at j 60.

 

12. The court gives no credit to Healy's argument that Macaluso
had known of Healy's interest in a bankruptcy filing for about a
year. As an attorney' himself, Healy is undoubtedly' aware that
prospective clients often do not return after an initial
consultation. Macaluso cannot have been expected to concern himself
with Healy's financial situation before Healy contacted him on or
about August 7, 2004.

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It may be that Healy had already made up his mind to proceed
with the chapter 13 filing. It is also possible he would have
proceeded even if he had known of the potential § 109(e)
challenge, based on the need to beat the state court filing
deadline.13 The court need not reach this issue, however, because
the key question is whether Macaluso provided Healy with
sufficient information regarding the eligibility issue to make an
informed decision. The court concludes that he did not.

Macaluso also testifies that he recommended Healy
Ythoroughly research the law in this field [bankruptcy],” and
that he asked Healy “to review the Bankruptcy Code.” Macaluso
ADT, at jj 16, 19. At the time of the bankruptcy filing,
Macaluso assumed Healy had “complied with [his] request to review
bankruptcy law from the time [they] originally spoke a year
before,” and based on that assumption, he believed Healy “knew
what he was doing knowingly, voluntarily, and intelligently.”
Lacsz.

First, the fact that a client is himself an attorney in no
way excuses or lessens an attorney's duties to the client.
further, the complexity of bankruptcy law is such that, even with
a year to conduct research, it is not reasonable to expect a non-
bankruptcy attorney to be fully versed on the requirements for
and ramifications of a chapter 13 filing. More important, the

analysis of applicable bankruptcy law is the duty of the debtor’s

 

13. The court notes that a debtor’s ineligibility under §
109(e) is not jurisdictional (Wenberg, 94 B.R. at 637), and thus,
this case might have proceeded despite Healy's ineligibility if the
Trustee and creditors had not objected. Thus, the court rejects
Healy's repeated characterization of the chapter 13 filing as
“illegal.”

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counsel, not the debtor. Both the disclosure required by Rule
2016(b) and this court's Rights and Responsibilities of Chapter
13 Debtors and Their Attorneys recognize debtor’s counsel’s duty
to assess the debtor’s financial situation,14 In short, it is no
excuse that Healy should have discovered the § 109(e) issue on
his own.

Macaluso’s attempt to shift the blame to his bankruptcy
filing software is flawed for similar reasons. A computer
program that “red-flags” cases with debts exceeding the § 109(e)
limits may be a useful tool; it cannot replace the attorney's
duties to his or her client.

Finally, Macaluso points to his and Healy's respective
military backgrounds, that Healy was “an Active Naval JAG
Officer,” whereas Macaluso was “an enlisted marine.” “I do not
question officers' decisions, especially a Naval JAG Officer and
seasoned litigator with regard to military justice.” Macaluso
ADT, j 13. Obviously, the parties' roles in this proceeding were
not as military personnel, but as attorney and client. This
testimony, therefore, does not excuse Macaluso’s failure to
properly advise his client.

It is clear Macaluso felt pressured to file a chapter 13 for

Healy, and Healy did certain things that made him uncomfortable.

 

14. The Rule 2016(b) disclosure acknowledges that in return for
his or her fee, the debtor’s counsel agrees to provide “an analysis
of the debtor’s financial situation, and . . . advice to the debtor
in determining whether to file a petition in bankruptcy . . . .” The
Rights and Responsibilities acknowledges that debtor’s counsel is to
“meet with the debtor to review the debtor’s debts, assets,
liabilities, income, and expenses,” and to “counsel the debtor
regarding the advisability of filing either a Chapter 7 or Chapter 13
case, discuss both procedures with the debtor, and answer the
debtor’s questions.” Both these documents were filed in this case.

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however, Macaluso’s response should have been to decline
representation. Once Macaluso accepted representation, he was
duty bound to provide services at the requisite level of care and
competency.

. In short, an attorney preparing to file a chapter 13
petition for a client must explore the issue of the debt limits,
explaining the ramifications and possible means to overcome such
a challenge, if any, and then; to the extent a filing would not
violate applicable ethical rules, allow the client to make the
decision whether to proceed. That did not happen here.

It was clear from the schedules filed with the chapter 13
petition that Healy was not eligible for chapter 13 relief, and'
the case was dismissed for this reason. As a result, the court
finds Macaluso’s services were not necessary to the
administration of the case, nor were Macaluso’s services
beneficial at the time at which the services were rendered toward
a completion of the case. The court concludes that Macaluso has
not met his burden of proving his entitlement to attorney's fees
for his services performed in and in contemplation of this case.

III. CONCLUSION

The court therefore concludes that, although the services
performed by Macaluso may have been worth well over $1,210 when
considered in a vacuum, as eligibility was not discussed, and the
case was ultimately dismissed based on Healy's ineligibility,
such services were not necessary and beneficial to Healy as the
debtor in the case. The court notes that services may be
compensable if they were reasonably likely to be necessary and

beneficial when rendered, even if the case turns out to be

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unsuccessful. §miph, 317 F.3d at 926. Thus, had Macaluso fully
explored the § 109(e) issues with Healy prior to the filing, and
had Healy made the decision to proceed anyway, the court would
likely find Macaluso entitled to compensation notwithstanding
that the case was dismissed on § 109(e) grounds. Because
Macaluso did not take this step, however, he is not entitled to
compensation, and the court will direct him to return to Healy
the $1,210 he received as compensation for the casel

The court Will issue an order consistent with this

memorandum.

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ROBERT S. BARDWIL
United States Bankruptcy Judge

Dated: January j§, 2008

 

 

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CERTIFICATE OF MAILING

l, Andrea Lovgren, in the performance of my duties as Deputy Clerk to the Honorable
Robert S. Bardwil, mailed by ordinary mail a true copy of the attached document on today’S date
to each of the parties listed below:

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DATE: JAN _7 2008 \.SY(\C\/\~ W

Deputy Clerk x

